                         Case 3:22-cv-00112 Document 1-1 Filed on 04/11/22 in TXSD Page 1 of 2
-6 5HY                                                   CIVIL COVER SHEET
7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHQRUVXSSOHPHQWWKHILOLQJDQGVHUYLFHRISOHDGLQJVRURWKHUSDSHUVDVUHTXLUHGE\ODZH[FHSWDV
SURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULVUHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKH
SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                      DEFENDANTS
Joseph Lowry                                                                                         City of La Marque, Texas
                                                                                                     Keith Bell
                                                                                                     Kimberley Yancy
   (b)&RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII      Galveston County                           &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       127(          ,1/$1'&21'(01$7,21&$6(686(7+(/2&$7,212)
                                                                                                                      7+(75$&72)/$1',192/9('
                                                                                                          
   (c)$WWRUQH\V(Firm Name, Address, and Telephone Number)                                          $WWRUQH\V(If Known)
Moore & Associates                         (713) 222-6775 Phone
440 Louisiana St., Ste. 1110               (713) 222-6739
Houston, TX 77002                           www.mooreandassociates.net

II. BASIS OF JURISDICTION(Place an “X” in One Box Only)                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                   (For Diversity Cases Only)                                           and One Box for Defendant)
u  86*RYHUQPHQW             u  )HGHUDO4XHVWLRQ                                                                     PTF          DEF                                           PTF      DEF
        3ODLQWLII                        (U.S. Government Not a Party)                        &LWL]HQRI7KLV6WDWH         u           u      ,QFRUSRUDWHGor3ULQFLSDO3ODFH       u       u 
                                                                                                                                                  RI%XVLQHVV,Q7KLV6WDWH

u  86*RYHUQPHQW             u  'LYHUVLW\                                              &LWL]HQRI$QRWKHU6WDWH          u        u     ,QFRUSRUDWHGand3ULQFLSDO3ODFH    u       u 
        'HIHQGDQW                        (Indicate Citizenship of Parties in Item III)                                                               RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                              &LWL]HQRU6XEMHFWRID           u        u     )RUHLJQ1DWLRQ                      u       u 
                                                                                              )RUHLJQ&RXQWU\
IV. NATURE OF SUIT(Place an “X” in One Box Only)
          CONTRACT                                         TORTS                                FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
u ,QVXUDQFH                   PERSONAL INJURY         PERSONAL INJURY           u 'UXJ5HODWHG6HL]XUH             u $SSHDO86&          u )DOVH&ODLPV$FW
u 0DULQH                     u $LUSODQH               u 3HUVRQDO,QMXU\             RI3URSHUW\86&          u :LWKGUDZDO                 u 6WDWH5HDSSRUWLRQPHQW
u 0LOOHU$FW                 u $LUSODQH3URGXFW               3URGXFW/LDELOLW\     u 2WKHU                                 86&                u $QWLWUXVW
u 1HJRWLDEOH,QVWUXPHQW             /LDELOLW\           u +HDOWK&DUH                                                                                      u %DQNVDQG%DQNLQJ
u 5HFRYHU\RI2YHUSD\PHQW u $VVDXOW/LEHO                   3KDUPDFHXWLFDO                                                  PROPERTY RIGHTS                u &RPPHUFH
      (QIRUFHPHQWRI-XGJPHQW         6ODQGHU                     3HUVRQDO,QMXU\                                               u &RS\ULJKWV                 u 'HSRUWDWLRQ
u 0HGLFDUH$FW               u )HGHUDO(PSOR\HUV¶             3URGXFW/LDELOLW\                                             u 3DWHQW                     u 5DFNHWHHU,QIOXHQFHGDQG
u 5HFRYHU\RI'HIDXOWHG             /LDELOLW\           u $VEHVWRV3HUVRQDO                                                u 7UDGHPDUN                       &RUUXSW2UJDQL]DWLRQV
     6WXGHQW/RDQV              u 0DULQH                         ,QMXU\3URGXFW                                                                                u &RQVXPHU&UHGLW
      ([FOXGHV9HWHUDQV         u 0DULQH3URGXFW                 /LDELOLW\                         LABOR                        SOCIAL SECURITY                u &DEOH6DW79
u 5HFRYHU\RI2YHUSD\PHQW           /LDELOLW\             PERSONAL PROPERTY            u )DLU/DERU6WDQGDUGV             u +,$ II                u 6HFXULWLHV&RPPRGLWLHV
     RI9HWHUDQ¶V%HQHILWV      u 0RWRU9HKLFOH          u 2WKHU)UDXG                    $FW                             u %ODFN/XQJ                  ([FKDQJH
u 6WRFNKROGHUV¶6XLWV        u 0RWRU9HKLFOH          u 7UXWKLQ/HQGLQJ          u /DERU0DQDJHPHQW                 u ',:&',::  J           u 2WKHU6WDWXWRU\$FWLRQV
u 2WKHU&RQWUDFW                    3URGXFW/LDELOLW\    u 2WKHU3HUVRQDO                 5HODWLRQV                       u 66,'7LWOH;9,             u $JULFXOWXUDO$FWV
u &RQWUDFW3URGXFW/LDELOLW\ u 2WKHU3HUVRQDO                 3URSHUW\'DPDJH        u 5DLOZD\/DERU$FW                u 56,  J                 u (QYLURQPHQWDO0DWWHUV
u )UDQFKLVH                         ,QMXU\               u 3URSHUW\'DPDJH           u )DPLO\DQG0HGLFDO                                                u )UHHGRPRI,QIRUPDWLRQ
                                 u 3HUVRQDO,QMXU\              3URGXFW/LDELOLW\           /HDYH$FW                                                             $FW
                                        0HGLFDO0DOSUDFWLFH                                  u 2WKHU/DERU/LWLJDWLRQ                                            u $UELWUDWLRQ
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS            u (PSOR\HH5HWLUHPHQW                FEDERAL TAX SUITS              u $GPLQLVWUDWLYH3URFHGXUH
u /DQG&RQGHPQDWLRQ          u 2WKHU&LYLO5LJKWV          Habeas Corpus:                  ,QFRPH6HFXULW\$FW              u 7D[HV 863ODLQWLII           $FW5HYLHZRU$SSHDORI
u )RUHFORVXUH                u 9RWLQJ                 u $OLHQ'HWDLQHH                                                        RU'HIHQGDQW                   $JHQF\'HFLVLRQ
u 5HQW/HDVH (MHFWPHQW     u (PSOR\PHQW             u 0RWLRQVWR9DFDWH                                                u ,56²7KLUG3DUW\            u &RQVWLWXWLRQDOLW\RI
u 7RUWVWR/DQG              u +RXVLQJ                       6HQWHQFH                                                           86&                    6WDWH6WDWXWHV
u 7RUW3URGXFW/LDELOLW\            $FFRPPRGDWLRQV       u *HQHUDO
u $OO2WKHU5HDO3URSHUW\    u $PHUZ'LVDELOLWLHV u 'HDWK3HQDOW\                      IMMIGRATION
                                        (PSOR\PHQW                Other:                     u 1DWXUDOL]DWLRQ$SSOLFDWLRQ
                                 u $PHUZ'LVDELOLWLHV u 0DQGDPXV 2WKHU          u 2WKHU,PPLJUDWLRQ
                                        2WKHU                u &LYLO5LJKWV                $FWLRQV
                                 u (GXFDWLRQ              u 3ULVRQ&RQGLWLRQ
                                                              u &LYLO'HWDLQHH
                                                                      &RQGLWLRQVRI
                                                                      &RQILQHPHQW
V. ORIGIN(Place an “X” in One Box Only)
u  2ULJLQDO            u  5HPRYHGIURP             u      5HPDQGHGIURP              u  5HLQVWDWHGRU       u  7UDQVIHUUHGIURP            u  0XOWLGLVWULFW
    3URFHHGLQJ              6WDWH&RXUW                       $SSHOODWH&RXUW                5HRSHQHG                 $QRWKHU'LVWULFW                 /LWLJDWLRQ
                                                                                                                         (specify)
                                     &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                     Fair Labor Standards Act of 1938, 42 U.S.C. §§ 1983
VI. CAUSE OF ACTION                  %ULHIGHVFULSWLRQRIFDXVH
                                      Deprivation of Rights
VII. REQUESTED IN     u &+(&.,)7+,6,6$CLASS ACTION                                          DEMAND $                                      &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
     COMPLAINT:          81'(558/()5&Y3                                                                                              JURY DEMAND:         u <HV     u 1R
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               -8'*(                                                                                       '2&.(7180%(5
'$7(                                                              6,*1$785(2)$77251(<2)5(&25'
04/11/2022
FOR OFFICE USE ONLY

   5(&(,37                 $02817                                    $33/<,1*,)3                                     -8'*(                            0$*-8'*(
-65HYHUVH 5HY   Case 3:22-cv-00112 Document 1-1 Filed on 04/11/22 in TXSD Page 2 of 2

                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                 $XWKRULW\)RU&LYLO&RYHU6KHHW

7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHVQRUVXSSOHPHQWVWKHILOLQJVDQGVHUYLFHRISOHDGLQJRURWKHUSDSHUVDV
UHTXLUHGE\ODZH[FHSWDVSURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULV
UHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKHSXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW&RQVHTXHQWO\DFLYLOFRYHUVKHHWLVVXEPLWWHGWRWKH&OHUNRI
&RXUWIRUHDFKFLYLOFRPSODLQWILOHG7KHDWWRUQH\ILOLQJDFDVHVKRXOGFRPSOHWHWKHIRUPDVIROORZV

I.(a)    Plaintiffs-Defendants.(QWHUQDPHV ODVWILUVWPLGGOHLQLWLDO RISODLQWLIIDQGGHIHQGDQW,IWKHSODLQWLIIRUGHIHQGDQWLVDJRYHUQPHQWDJHQF\XVH
         RQO\WKHIXOOQDPHRUVWDQGDUGDEEUHYLDWLRQV,IWKHSODLQWLIIRUGHIHQGDQWLVDQRIILFLDOZLWKLQDJRYHUQPHQWDJHQF\LGHQWLI\ILUVWWKHDJHQF\DQG
         WKHQWKHRIILFLDOJLYLQJERWKQDPHDQGWLWOH
  (b)    County of Residence.)RUHDFKFLYLOFDVHILOHGH[FHSW86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\ZKHUHWKHILUVWOLVWHGSODLQWLIIUHVLGHVDWWKH
         WLPHRIILOLQJ,Q86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\LQZKLFKWKHILUVWOLVWHGGHIHQGDQWUHVLGHVDWWKHWLPHRIILOLQJ 127(,QODQG
         FRQGHPQDWLRQFDVHVWKHFRXQW\RIUHVLGHQFHRIWKHGHIHQGDQWLVWKHORFDWLRQRIWKHWUDFWRIODQGLQYROYHG
  (c)    Attorneys.(QWHUWKHILUPQDPHDGGUHVVWHOHSKRQHQXPEHUDQGDWWRUQH\RIUHFRUG,IWKHUHDUHVHYHUDODWWRUQH\VOLVWWKHPRQDQDWWDFKPHQWQRWLQJ
         LQWKLVVHFWLRQ VHHDWWDFKPHQW 

II.      Jurisdiction.7KHEDVLVRIMXULVGLFWLRQLVVHWIRUWKXQGHU5XOH D )5&Y3ZKLFKUHTXLUHVWKDWMXULVGLFWLRQVEHVKRZQLQSOHDGLQJV3ODFHDQ;
         LQRQHRIWKHER[HV,IWKHUHLVPRUHWKDQRQHEDVLVRIMXULVGLFWLRQSUHFHGHQFHLVJLYHQLQWKHRUGHUVKRZQEHORZ
         8QLWHG6WDWHVSODLQWLII  -XULVGLFWLRQEDVHGRQ86&DQG6XLWVE\DJHQFLHVDQGRIILFHUVRIWKH8QLWHG6WDWHVDUHLQFOXGHGKHUH
         8QLWHG6WDWHVGHIHQGDQW  :KHQWKHSODLQWLIILVVXLQJWKH8QLWHG6WDWHVLWVRIILFHUVRUDJHQFLHVSODFHDQ;LQWKLVER[
         )HGHUDOTXHVWLRQ  7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHMXULVGLFWLRQDULVHVXQGHUWKH&RQVWLWXWLRQRIWKH8QLWHG6WDWHVDQDPHQGPHQW
         WRWKH&RQVWLWXWLRQDQDFWRI&RQJUHVVRUDWUHDW\RIWKH8QLWHG6WDWHV,QFDVHVZKHUHWKH86LVDSDUW\WKH86SODLQWLIIRUGHIHQGDQWFRGHWDNHV
         SUHFHGHQFHDQGER[RUVKRXOGEHPDUNHG
         'LYHUVLW\RIFLWL]HQVKLS  7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHSDUWLHVDUHFLWL]HQVRIGLIIHUHQWVWDWHV:KHQ%R[LVFKHFNHGWKH
         FLWL]HQVKLSRIWKHGLIIHUHQWSDUWLHVPXVWEHFKHFNHG. 6HH6HFWLRQ,,,EHORZ; NOTE: federal question actions take precedence over diversity
         cases.

III.     Residence (citizenship) of Principal Parties.7KLVVHFWLRQRIWKH-6LVWREHFRPSOHWHGLIGLYHUVLW\RIFLWL]HQVKLSZDVLQGLFDWHGDERYH0DUNWKLV
         VHFWLRQIRUHDFKSULQFLSDOSDUW\

IV.      Nature of Suit.3ODFHDQ;LQWKHDSSURSULDWHER[,IWKHQDWXUHRIVXLWFDQQRWEHGHWHUPLQHGEHVXUHWKHFDXVHRIDFWLRQLQ6HFWLRQ9,EHORZLV
         VXIILFLHQWWRHQDEOHWKHGHSXW\FOHUNRUWKHVWDWLVWLFDOFOHUN V LQWKH$GPLQLVWUDWLYH2IILFHWRGHWHUPLQHWKHQDWXUHRIVXLW,IWKHFDXVHILWVPRUHWKDQ
         RQHQDWXUHRIVXLWVHOHFWWKHPRVWGHILQLWLYH

V.       Origin.3ODFHDQ;LQRQHRIWKHVL[ER[HV
         2ULJLQDO3URFHHGLQJV  &DVHVZKLFKRULJLQDWHLQWKH8QLWHG6WDWHVGLVWULFWFRXUWV
         5HPRYHGIURP6WDWH&RXUW  3URFHHGLQJVLQLWLDWHGLQVWDWHFRXUWVPD\EHUHPRYHGWRWKHGLVWULFWFRXUWVXQGHU7LWOH86&6HFWLRQ
         :KHQWKHSHWLWLRQIRUUHPRYDOLVJUDQWHGFKHFNWKLVER[
         5HPDQGHGIURP$SSHOODWH&RXUW  &KHFNWKLVER[IRUFDVHVUHPDQGHGWRWKHGLVWULFWFRXUWIRUIXUWKHUDFWLRQ8VHWKHGDWHRIUHPDQGDVWKHILOLQJ
         GDWH
         5HLQVWDWHGRU5HRSHQHG  &KHFNWKLVER[IRUFDVHVUHLQVWDWHGRUUHRSHQHGLQWKHGLVWULFWFRXUW8VHWKHUHRSHQLQJGDWHDVWKHILOLQJGDWH
         7UDQVIHUUHGIURP$QRWKHU'LVWULFW  )RUFDVHVWUDQVIHUUHGXQGHU7LWOH86&6HFWLRQ D 'RQRWXVHWKLVIRUZLWKLQGLVWULFWWUDQVIHUVRU
         PXOWLGLVWULFWOLWLJDWLRQWUDQVIHUV
         0XOWLGLVWULFW/LWLJDWLRQ  &KHFNWKLVER[ZKHQDPXOWLGLVWULFWFDVHLVWUDQVIHUUHGLQWRWKHGLVWULFWXQGHUDXWKRULW\RI7LWOH86&6HFWLRQ
         :KHQWKLVER[LVFKHFNHGGRQRWFKHFN  DERYH

VI.      Cause of Action.5HSRUWWKHFLYLOVWDWXWHGLUHFWO\UHODWHGWRWKHFDXVHRIDFWLRQDQGJLYHDEULHIGHVFULSWLRQRIWKHFDXVHDo not cite jurisdictional
         statutes unless diversity. ([DPSOH86&LYLO6WDWXWH86&%ULHI'HVFULSWLRQ8QDXWKRUL]HGUHFHSWLRQRIFDEOHVHUYLFH

VII.     Requested in Complaint.&ODVV$FWLRQ3ODFHDQ;LQWKLVER[LI\RXDUHILOLQJDFODVVDFWLRQXQGHU5XOH)5&Y3
         'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODUDPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
         -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG

VIII. Related Cases.7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IWKHUHDUHUHODWHGSHQGLQJFDVHVLQVHUWWKHGRFNHW
      QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV

Date and Attorney Signature.'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
